Case 6:15-cv-01517-AA    Document 460          Filed 02/10/21   Page 1 of 4




                        FOR PUBLICATION

          UNITED STATES COURT OF APPEALS
               FOR THE NINTH CIRCUIT


        KELSEY CASCADIA ROSE JULIANA;              No. 18-36082
        XIUHTEZCATL TONATIUH M.,
        through his Guardian Tamara Roske-            D.C. No.
        Martinez; ALEXANDER LOZNAK;                6:15-cv-01517-
        JACOB LEBEL; ZEALAND B., through                 AA
        his Guardian Kimberly Pash-Bell;
        AVERY M., through her Guardian
        Holly McRae; SAHARA V., through               ORDER
        her Guardian Toa Aguilar; KIRAN
        ISAAC OOMMEN; TIA MARIE
        HATTON; ISAAC V., through his
        Guardian Pamela Vergun; MIKO V.,
        through her Guardian Pamel Vergun;
        HAZEL V., through her Guardian
        Margo Van Ummerson; SOPHIE K.,
        through her Guardian Dr. James
        Hansen; JAIME B., through her
        Guardian Jamescita Peshlakai;
        JOURNEY Z., through his Guardian
        Erika Schneider; VICTORIA B.,
        through her Guardian Daisy
        Calderon; NATHANIEL B., through
        his Guardian Sharon Baring; AJI P.,
        through his Guardian Helaina Piper;
        LEVI D., through his Guardian
        Leigh-Ann Draheim; JAYDEN F.,
        through her Guardian Cherri Foytlin;
        NICHOLAS V., through his Guardian
        Marie Venner; EARTH GUARDIANS, a
Case 6:15-cv-01517-AA     Document 460          Filed 02/10/21   Page 2 of 4




       2               JULIANA V. UNITED STATES


        nonprofit organization; FUTURE
        GENERATIONS, through their
        Guardian Dr. James Hansen,
                         Plaintiffs-Appellees,

                          v.

        UNITED STATES OF AMERICA; MARY
        B. NEYMAYR, in her official capacity
        as Director of Council on
        Environmental Quality; MICK
        MULVANEY, in his official capacity
        as Director of the Office of
        Management and the Budget;
        KELVIN K. DROEGEMEIR, Dr., in his
        official capacity as Director of the
        Office of Science and Technology
        Policy; DAN BROUILLETTE, Dr., in
        his official capacity as Secretary of
        Energy; U.S. DEPARTMENT OF THE
        INTERIOR; DAVID BERNHARDT, in his
        official capacity as Secretary of
        Interior; U.S. DEPARTMENT OF
        TRANSPORTATION; ELAINE L. CHAO,
        in her official capacity as Secretary
        of Transportation; UNITED STATES
        DEPARTMENT OF AGRICULTURE;
        SONNY PERDUE, in his official
        capacity as Secretary of Agriculture;
        UNITED STATES DEPARTMENT OF
        COMMERCE; WILBUR ROSS, in his
        official capacity as Secretary of
        Commerce; UNITED STATES
        DEPARTMENT OF DEFENSE; MARK T.
Case 6:15-cv-01517-AA        Document 460          Filed 02/10/21        Page 3 of 4




                          JULIANA V. UNITED STATES                         3


        ESPER, in his official capacity as
        Secretary of Defense; UNITED
        STATES DEPARTMENT OF STATE;
        MICHAEL POMPEO, in his official
        capacity as Secretary of State;
        ANDREW WHEELER, in his official
        capacity as Administrator of the
        EPA; OFFICE OF THE PRESIDENT OF
        THE UNITED STATES; U.S.
        ENVIRONMENTAL PROTECTION
        AGENCY; U.S. DEPARTMENT OF
        ENERGY; DONALD J. TRUMP, in his
        official capacity as President of the
        United States,
                       Defendants-Appellants.

                           Filed February 10, 2021

        Before: Mary H. Murguia and Andrew D. Hurwitz, Circuit
             Judges, and Josephine L. Staton, * District Judge.

                                      Order


                                    ORDER

           The full court has been advised of the petition for
       rehearing en banc. A judge requested a vote on whether to
       rehear the matter en banc. The matter failed to receive a



           *
              The Honorable Josephine L. Staton, United States District Judge
       for the Central District of California, sitting by designation.
Case 6:15-cv-01517-AA      Document 460       Filed 02/10/21      Page 4 of 4




       4               JULIANA V. UNITED STATES

       majority of the votes of the nonrecused active judges in favor
       of en banc consideration. Fed R. App. P. 35.

         The petition for rehearing en banc, Dkt. 156, is
       DENIED.

           Judges McKeown, Collins, Bress and VanDyke did not
       participate in the consideration of the petition for rehearing
       en banc.
